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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-81163-CIV-MATTHEWMAN

  JEFFREY LAGRASSO and
  DEBORAH LAGRASSO,

         Plaintiffs,

  vs.

  SEVEN BRIDGES HOMEOWNERS
  ASSOCIATION, INC.,

        Defendant.
  _____________________________/

       ORDER DENYING DEFENDANT’S MOTION FOR PARTIAL SUMMARY
    JUDGMENT AS TO PLAINTIFFS’ PUNITIVE DAMAGES CLAIM PURSUANT TO
                THEIR DISPARATE TREATMENT THEORY OF
                            COUNT I [DE 233]

         THIS CAUSE is before the Court upon Defendant’s Motion For Partial Summary

  Judgment As To Plaintiffs’ Punitive Damages Claim Pursuant To Their Disparate Treatment

  Theory Of Count I (“Motion”) [DE 233]. Plaintiffs responded [DE 234], and Defendant replied

  [DE 235]. Having carefully reviewed the parties’ filings, the entire record, and the governing

  law, the Motion [DE 233] is DENIED.

         Plaintiffs brought this action for alleged violations of 42 U.S.C. § 3604(b) of the Fair

  Housing Act against the Association claiming discrimination on the basis of their religion in their

  ability to use services or facilities of the Association, and by the Association’s inaction to control

  the conduct of their neighbor. [DE 1; DE 118].               Count I alleges disparate treatment

  discrimination and Plaintiffs have sought punitive damages in connection with that claim. Id.

         The prior presiding Judge found that the record contained “adequate circumstantial

  evidence to allow a jury to reasonably infer that Defendant discriminated against Plaintiffs in

  part due to their status as Christians, or at least as non-Jewish community members.” [DE 188 at
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  3]. As that theory of Count I has survived summary judgment, Plaintiffs’ demand for punitive

  damages as to that claim has also survived summary judgment. Moreover, Defendant failed to

  sufficiently show that it timely moved for summary judgment on this issue or that any prior

  Court order clearly and unequivocally states that punitive damages as to the remaining disparate

  treatment theory is unavailable. Accordingly, Defendant’s Motion [DE 233] is DENIED.


         ORDERED and ADJUDGED in chambers at West Palm Beach, Palm Beach County,

  Florida, this 21st day of December 2021.

                                                     _________________________________
                                                     William Matthewman
                                                     United States Magistrate Judge




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